Order entered August 16, 2016




                                            In The
                                 Court of Appeals
                          Fifth District of Texas at Dallas
                                      No. 05-16-00355-CR

                       OSCAR EDGARDO FERNANDEZ, Appellant

                                              V.

                             THE STATE OF TEXAS, Appellee

                     On Appeal from the Criminal District Court No. 6
                                  Dallas County, Texas
                          Trial Court Cause No. F14-76143-X

                                          ORDER
       The Court GRANTS appellant’s motion to substitute counsel.

       We ORDER the Clerk to remove Dan E. Wood as appellate counsel and substitute James

L. Guinan as counsel for appellant.


                                                     /s/   ADA BROWN
                                                           JUSTICE
